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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

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DOMINGO ARREGUIN GOMEZ, et al.,           )
                                          )
      Plaintiffs,                         )
                                          )
              v.                          )   Case No. 20-cv-01419 (APM)
                                          )
DONALD J. TRUMP, et al.,                  )
                                          )
      Defendants.                         )
_________________________________________ )
_________________________________________
                                          )
MOHAMMED ABDULAZIZ                        )
ABDUL MOHAMMED, et al.,                   )
                                          )
      Plaintiffs,                         )
                                          )
              v.                          )   Case No. 20-cv-01856 (APM)
                                          )
MICHAEL R. POMPEO, et al.,                )
                                          )
      Defendants.                         )
_________________________________________ )
_________________________________________
                                          )
AFSIN AKER, et al.,                       )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           )   Case No. 20-cv-01926 (APM)
                                          )
DONALD J. TRUMP, et al.,                  )
                                          )
      Defendants.                         )
_________________________________________ )
_________________________________________
                                          )
CLAUDINE NGUM FONJONG, et al.,            )
                                          )
      Plaintiffs,                         )
                                          )
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               v.                         )                  Case No. 20-cv-02128 (APM)
                                          )
DONALD J. TRUMP, et al.,                  )
                                          )
      Defendants.                         )
_________________________________________ )

_________________________________________
                                          )
CHANDAN PANDA, et al.,                    )
                                          )
      Plaintiffs,                         )
                                          )
              v.                          )                  Case No. 20-cv-1907 (APM)
                                          )
CHAD F. WOLF, et al.,                     )
                                          )
      Defendants.                         )
_________________________________________ )

                                       AMENDED ORDER

       In a Memorandum Opinion and Order issued on September 4, 2020, the court held that the

U.S. Department of State had acted arbitrarily and capriciously in refusing to review and adjudicate

the applications of fiscal year 2020 diversity visa lottery winners (“DV-2020”) pursuant to the

Department’s implementation of Presidential Proclamations 11014 and 10052, and had

unreasonably delayed in processing those DV-2020 visa applications. See Mem. Op & Order,

ECF No. 123 [hereinafter Mem. Op.], at 59–65, 67–72. The court ordered Defendants to

“undertake good-faith efforts, directly and through their designees, to expeditiously process and

adjudicate DV-2020 diversity visa and derivative beneficiary applications and issue or reissue

diversity and derivative beneficiary visas to eligible applicants by September 30, 2020, giving

priority to the named diversity visa Plaintiffs in Gomez, Aker, Mohammed, and Fonjong and their

derivative beneficiaries.” Id. at 84 ¶ 2.




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         On September 9, 2020, the State Department published guidance explaining the steps it

would take to comply with the court’s Order. 1 Among the steps taken by the Department is the

following, which is now the subject of dispute:

                  The five Regional COVID Proclamations that suspend entry of
                  immigrants who were physically present in China, Iran, the
                  Schengen Area, the UK, Ireland, or Brazil within 14 days of entry
                  into the United States are still in effect and not the subject of the
                  Court’s order. Thus, while DV applicants subject to a regional
                  COVID Proclamation (China, Iran, the Schengen Area, the UK,
                  Ireland, or Brazil) may be interviewed and processed, applicants
                  who have been physically present in the affected region during the
                  preceding 14-day period will not be issued an immigrant visa,
                  unless excepted under the relevant proclamation or until they have
                  been outside the affected region for 14 days.

Id. (emphasis added). The referenced five Regional Proclamations restrict entry of persons who,

within 14 days of seeking entry to the United States, were physically present within various

COVID-19 global “hotspots.” See Presidential Proclamation 9984, 85 Fed. Reg. 6,709 (Republic

of China); Presidential Proclamation 9992, 85 Fed. Reg. 12,855 (Iran); Presidential Proclamation

9993, 85 Fed. Reg. 15,045 (Schengen Area); Presidential Proclamation 9996, 85 Fed. Reg. 15,341

(United Kingdom and Ireland); and Presidential Proclamation 10041, 85 Fed. Reg. 31,933 (Brazil).

The italicized text above requires DV-2020 selectees subject to the five Regional Proclamations

to quarantine for a 14-day period outside the subject regions before becoming eligible to receive a

DV-2020 visa, unless an exception applies. 2 The court refers to this policy as the “Quarantine

Requirement.” According to the State Department, the five Regional Proclamations legally

compel the Department to impose and enforce the Quarantine Requirement before it can issue a



1
   U.S. Dep’t of State, “Diversity Visa DV-2020 Update,” https://travel.state.gov/content/travel/en/News/visas-
news/diversity-visa-DV-2020-update html (last updated September 14, 2020).
2
  The guidance is confusing, to say the least. It states that DV-2020 winners “may be interviewed and processed,” but
does not explain whether such processing can occur in the applicant’s home country, in which case the applicant would
have to leave for 14 days and could obtain the visa upon return, or whether such processing can occur only outside
the places subject to the Regional Proclamations and only after a 14-day quarantine in such location.

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visa to any DV-2020 applicant to whom the Regional Proclamations apply. See Defs.’ Resp. to

Pls.’ Emergency Mot. for Telephone Conference, ECF No. 131, at 6–7. Defendants assert that the

Quarantine Requirement “is in full compliance with the PI Order.” Id. at 6.

       No, it is not. The Quarantine Requirement is premised on a faulty legal position, and it is

irrational, too. First, the legal flaw. The State Department says that its position is consistent with

its “decades-long interpretation of 8 U.S.C. § 1182(f),” and that the court’s injunction does not

reach the States Department’s implementation of other Presidential Proclamations. Id. at 5. But

the Department here is not advancing its purported “decades-long interpretation” of how an entry

restriction under § 1182(f) affects visa eligibility. That position, as articulated in this case, was

that another statutory provision, 8 U.S.C. § 1201(g), renders anyone who is deemed inadmissible

by presidential action under § 1182(f) also ineligible to receive a visa. See Mem. Op. at 60–62.

But the Department does not advance that position here. It is not saying that the Regional

Proclamations foreclose it from issuing DV-2020 visas altogether; rather, the agency has engrafted

the Regional Proclamations’ 14-day-presence entry disqualifier onto the statutory requirements for

visa issuance. The Department cites no legal authority that would permit it to take such action.

The Department cannot look to the Regional Proclamations themselves for such power, because

those presidential orders only place restrictions on entry. And, as the court already has held, the

Department cannot rely on § 1201(g) to suspend visa processing or to modify visa requirements,

as that statutory provision only concerns factors for visa ineligibility under § 1182(a), and not

conditions of inadmissibility under § 1182(f). See id. The State Department thus identifies no

valid legal basis for imposing the Quarantine Requirement.

       The Quarantine Requirement is also illogical. It serves no obvious purpose except to delay

the issuance of DV-2020 visas. Under Presidential Proclamations 10014 and 10052, no DV-2020



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applicant will be able to enter the United States before December 31, 2020. Thus, forcing a DV-

2020 winner to quarantine now outside a covered region, months before she will enter the United

States, can serve no immediate domestic public heath purpose. Nor is there any apparent health

and safety benefit to consular officers. DV-2020 applicants are simply being channeled to appear

before a different consular officer outside of the covered regions (after traveling to do so). Further,

whatever benefit the Department claims might be gained from a 14-day quarantine is suspect, as

the State Department has identified no similar policy that is applicable to any other category of

visa applicant in a covered region. The Quarantine Requirement seems designed to frustrate DV-

2020 applicants who might benefit from this court’s order. In both form and spirit, the policy is at

odds with this court’s injunction.

       “Crafting a preliminary injunction is an exercise of discretion and judgment, often

dependent as much on the equities of a given case as the substance of the legal issues it presents.”

Trump v. Int’l Refugee Assistance Project, 137 S. Ct. 2080, 2087 (2017). The court may “mold its

decree to meet the exigencies of the particular case,” id. (quoting 11A C. Wright, A. Miller, & M.

Kane, Federal Practice and Procedure § 2948, at 115 (3d ed. 2013)), and may “go beyond earlier

orders . . . to address each element contributing to the violation,” and “insure against the risk of

inadequate compliance,” Hutto v. Finney, 437 U.S. 678, 687 (1978). Here, the State Department’s

legally dubious and illogical foisting of a 14-day quarantine requirement upon those DV-2020

selectees affected by the Regional Proclamations is an “exigency” that warrants “molding” the

court’s preliminary injunction order to ensure it remains effective. Failure to act would result in

irreparable harm to hundreds (if not thousands) of DV-2020 selectees who risk losing their

opportunity to secure a DV-2020 visa. The Department has no interest continuing a policy that




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has no evident legal basis, and nor does the public. Accordingly, the court amends its Order, ECF

No. 123 at 85, to add the following paragraph:

       8.     The court enjoins the State Department from applying or enforcing the
              Quarantine Requirement for DV-2020 selectees and their derivative
              beneficiaries.




Dated: September 14, 2020                                   Amit P. Mehta
                                                     United States District Judge




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